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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA

JEFFREY WEISEN,                                )
                                               )
                  Plaintiff,                   )
                                               )
         v.                                    )
                                               )
KOHL’S INC. AND DDRA MAPLE                     )         NOTICE OF REMOVAL
GROVE CROSSING LLC,                            )          TO FEDERAL COURT
                                               )
                  Defendants.                  )
                                               )
                                               )


TO:      THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
         DISTRICT OF MINNESOTA; PLAINTIFF NAMED ABOVE; AND
         DEFENDANT DDRA MAPLE GROVE CROSSING LLC

         Defendant Kohl’s Inc., by and through its attorneys, Rock Hutchinson PLLP,

remove this action from the Minnesota District Court, Fourth Judicial District, Hennepin

County, to the United States District Court for the District of Minnesota pursuant to 28

U.S.C. § 1331. In support of its Notice for Removal, Kohl’s states as follows:

                                     Removal Procedure

         1.       Plaintiff Jeffrey Weisen (“Plaintiff”) served a Summons and Complaint

upon Kohl’s on November 6, 2020. A true and correct copy of the Summons and

Complaint is attached hereto as Exhibit A as required by 28 U.S.C. § 1446(a). As of the

date of this filing, the Complaint has not been filed with the Hennepin County District

Court.
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       2.       Defendant Kohl’s has not answered the Complaint, and no further

proceedings have taken place in the State Court Action.

       3.       To the best of the undersigned’s knowledge, Defendant DDRA Maple

Grove Crossing LLC has also not answered the Complaint.

       4.       The Complaint seeks declaratory judgment, injunctive relief, and certain

nominal monetary damages and attorneys’ fees arising from Defendants’ alleged

violation of the Americans with Disabilities Act (“ADA”).

       5.       28 U.S.C. § 1331 states in relevant part: “The district courts shall have

original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of

the United States.”

       6.       The Complaint alleges violations of the ADA, which is a law of the United

States. This Court therefore has Federal Question Jurisdiction over this matter.

       7.       This Notice of Removal is timely under 28 U.S.C. § 1446(b)(1) because it

was filed within thirty days after the Defendants received service of Plaintiff’s Summons

and Complaint.

       8.       Venue is proper in this Court for removal purposes under 28 U.S.C.

§1446(a), as this Court is “the district court of the United States for the district and

division” where the State Court Action is pending.

       9.       Concurrent with the filing of this Notice of Removal, written Notice of

Removal is being given to Plaintiff and a copy of a Notice of Filing Notice of Removal is

being filed with the Minnesota District Court, Fourth Judicial District, Hennepin County



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as required by 28 U.S.C. §1446(d). A true and correct copy of the Notice of Filing Notice

of Removal is attached hereto as Exhibit B.

       10.    By this Notice of Removal, Kohl’s does not waive any objections it may

have to this action. Kohl’s intends no admissions of fact, law or liability as to Plaintiff’s

allegations, whether set forth in the Complaint or otherwise, and expressly reserve all

defenses, motions, and pleas.

       11.    WHEREFORE, Kohl’s hereby gives notice that the case Jeffrey Weisen v.

Kohl’s Inc. et al. is removed from the Fourth Judicial District, Hennepin County,

Minnesota to the United States District Court for the District of Minnesota, pursuant to

28 U.S.C. §§1331, 1441, and 1446, and that all further proceedings shall be held before

this Court.



Dated: November 27, 2020                          ROCK HUTCHINSON PLLP

                                            By:    u/s/ Troy J. Hutchinson
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